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November 18, 2024

Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

cc: All Counsel of Record Line (via ECF)

Re:       Dispute re the Times’s refusal to provide market-related discovery

Dear Judge Wang:

OpenAI requests a pre-motion conference to address the Times’s refusal to produce two highly-
relevant categories of discovery: (1) documents and communications regarding the Times’s
alleged market harm, i.e., decreases in revenue and traffic, and analyses of the causes; and (2)
documents and communications regarding the markets for licensing the Times’s works. 1

These documents are critical to OpenAI’s fair use defense. The fourth fair use factor focuses on
“the effect of the use upon the potential market for or value of the copyrighted work.” 17 U.S.C.
§ 107(4). A showing that the use had no effect, or only a small effect, on the market for the
copyrighted work weighs in favor of fair use. See Authors Guild v. Google, Inc., 804 F.3d 202,
224 (2d Cir. 2015). But critically, only one type of market harm is cognizable: “the harm that
results because the secondary use serves as a substitute for the original work.” Authors Guild,
Inc. v. HathiTrust, 755 F.3d 87, 99 (2d Cir. 2014) (emphasis added). It is not sufficient for the
Times to claim it suffered some revenue loss; factor four still weighs in favor of fair use unless
OpenAI’s alleged use of the asserted works “serves as [a] substitute for the original work.” Id.
OpenAI is thus entitled to fulsome discovery regarding the Times’s alleged losses, including the
magnitude of those losses, their causes, and the markets in which they occurred. Summary
revenue evidence—which is all the Times has committed to produce so far—is not enough.

      1. The Times should produce documents regarding alleged decreases in its revenue
         and subscriptions and analyses of the causes (RFPs 141-148).

The Times alleges that it has suffered substantial harm as a result of OpenAI’s use of the asserted
works, including that OpenAI’s use “deprive[d] [t]he Times of subscription, licensing,
advertising, and affiliate revenue” across its multiple offerings. Dkt. 170, ¶¶ 5, 44. Accordingly,
OpenAI has requested documents and communications regarding: (1) decreases in traffic to the
Times’s platforms and the reasons for those decreases (RFPs 142-144); (2) efforts to determine
whether those decreases in traffic are “attributable to GPT Services versus other market forces
and factors” (RFP 145); and (3) decreases in revenue generated by these offerings (RFPs 141,
146-148). See Exhibit A at 31-36. OpenAI is entitled to this discovery to test the Times’s

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 The parties’ dispute as to revenue and traffic-related documents is not confined to this motion. OpenAI
previously filed a separate motion regarding other document requests on similar grounds. See Dkt. 276
(moving to compel as to RFPs 35 & 37). That motion remains pending.

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assertions of harm and show that OpenAI’s use does not result in a substitute for the Times’s
works—the critical inquiry under the fourth fair use factor. HathiTrust, 755 F.3d at 99.

The Times has refused to provide this discovery. Instead, it agreed to produce only a narrow set
of (1) only those documents “sufficient to show” decreases in traffic to the Times’s websites
(RFPs 141-144) and (2) only those analyses explicitly attributing the decreases to GPT Services
(RFP 145). 2 But the Times has refused to produce documents or communications that would
reveal the Times’s own assessments of the alleged decreases in traffic and revenue, including
analyses and custodial communications discussing the other—and likely more direct—causes of
the alleged declines, even though such information is squarely relevant to OpenAI’s fair use
defense. The Times’s refusal to provide complete discovery on these requests is improper.

First, the Times does not contest that the requested discovery is relevant. Nor could it.
Communications relating to decreases in traffic and revenue—including the reasons for those
decreases—are necessary for OpenAI to probe the Times’s implausible claim that OpenAI’s
tools were the cause. OpenAI is entitled to “present evidence of a lack of market harm to support
[its] defense of fair use.” Hachette Book Grp., Inc. v. Internet Archive, 115 F.4th 163, 191 (2d
Cir. 2024). The Times’s agreement to produce limited, self-serving discovery to try to establish a
causal connection between the harm it alleges and OpenAI’s use presents a one-sided story. For
example, the Times points to its agreement to produce documents “sufficient to show” how
OpenAI’s conduct has allegedly diverted Times readers (RFPs 94, 98) and documents regarding
decreases in traffic and revenue to Wirecutter (RFP 96). But those narrow agreements would
exclude any communications regarding the reasons for decreases in traffic or revenue, or pre-
litigation assessments of its losses and whether OpenAI caused them. These issues are directly
relevant to OpenAI’s factor four defense, and OpenAI is entitled to discovery on them.

Second, the Times has failed to articulate any burden in producing this discovery. Although it
has claimed that the RFPs would require the Times to review a vast quantity of documents, it has
not provided any support for that assertion (and any search would be subject to term and
custodian limits). Any burden claim rings hollow given the Times’s demand that OpenAI review
500,000 documents from its 26 existing custodians—plus countless more from 15 new
custodians. Indeed, any minimal burden is outweighed by the evidence’s relevance to OpenAI’s
fair use defense. The Times should be ordered to respond to the requests in full.

    2. The Times should produce documents regarding the alleged markets for licensing
       its works (RFPs 18, 33, 160-161)

Discovery regarding the Times’s alleged licensing markets—both (1) the primary licensing
market and (2) any alleged market to license the asserted works for training large-language
models (“LLMs”)—is directly probative of whether OpenAI’s products and services have caused
harm to those markets. To that end, OpenAI has requested documents and communications
relating to (i) the Times’s efforts to license the asserted works (RFPs 18, 33); (ii) the market for
licensing or using the Times’s works for AI training, including documents showing or refuting

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  The Times has refused to state in writing whether its offer on RFP 145 encompasses analyses that
identify entirely different causes for such declines. Those analyses would demonstrate that any decreases
in traffic were in fact caused by forces for which OpenAI is not responsible.

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whether such a market currently exists (RFP 160); and (iii) whether the Times’s works have ever
been used for the purpose of analyzing language patterns (RFP 161). See Exhibit A at 45-46;
Exhibit B at 16-17, 26-27. The Times initially refused to produce any documents in response to
these requests, and now purports to limit productions to two narrow subsets of responsive
documents: copies of licenses for the asserted works, and custodial communications limited to
specific attempts to license the Times’s works for LLM training. The Times refuses to produce
(1) any communications regarding licensing the asserted works in its primary licensing market,
i.e., for purposes other than LLM training, or (2) any communications regarding the existence (or
lack thereof) of a functioning market for LLM-related licenses. This refusal is improper. 3

First, this discovery is highly probative under the fair use inquiry. Documents regarding licenses
for the Times’s works in the primary market (or attempts to enter into such licenses) are directly
relevant to the Times’s claim that OpenAI’s products have harmed its ability to license its works
for reproduction, derivative uses, and distribution, among other things. Bill Graham Archvs. v.
Dorling Kindsersley, 448 F.3d 605, 614 (2d Cir. 2006) (first inquiry under fourth fair use factor
is whether a challenged use “impact[s] [The Times’s] primary market for the sale of [its
products]”). The Times’s attempt to limit production to the licenses themselves is wholly
insufficient; OpenAI is entitled to documents that counter the Times’s assertion that GPT
Services have acted as a substitute for the Times’ works and that show that GPT Services have
not affected the Times’s ability to license its works in its primary licensing market.

Second, OpenAI is entitled to fulsome discovery into alleged harm to a potential market for
licensing the Times’s works for LLM-training. In “every fair use case,” the “plaintiff suffers a
loss of a potential market if that potential is defined as the theoretical market for licensing the
very use at bar.” Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P., 756 F.3d 73, 91 (2d Cir.
2014) (quoting 4 Nimmer on Copyright § 13.05[A][4]) (emphasis in original). Therefore, courts
have held that “[o]nly an impact on potential licensing revenues for traditional, reasonable, or
likely to be developed markets” are relevant to the fourth factor. Am. Geophysics Union v.
Texaco Inc., 60 F.3d 913, 930 (2d Cir. 1994) (emphasis added). Courts have been similarly clear
that “a copyright holder cannot prevent others from entering fair use markets merely by
developing or licensing a market for [those uses].” Bill Graham Archvs., 448 F.3d at 615. In
other words, the court considers both whether a cognizable potential market even exists, and
whether the Times intended to participate in or benefit from it. See Am. Geophysical Union, 60
F.3d at 930. Any of the Times’s communications regarding a licensing market for LLM training
are indisputably relevant to the former; they are also the best, and perhaps only, source of
information for the latter. If Times employees recognized that such licensing efforts were not
feasible at scale or that there was no market for such licenses, those documents would be critical
to establishing a lack of a cognizable market and thus the absence of market harm.

Finally, the Times has not articulated any burden with producing this discovery. Indeed, the
Times has insisted that OpenAI produce communications regarding licenses and attempted
licenses. The Times should be ordered to provide reciprocal discovery.


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 The Times also refuses to respond to OpenAI ROGs 9 and 10 asking it to describe each alleged market
for the asserted works for which it claims harm. This further prevents OpenAI from marshaling fair use
evidence.

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                                 Respectfully,

KEKER, VAN NEST &                 LATHAM & WATKINS                  MORRISON & FOERSTER
PETERS LLP *                      LLP                               LLP

/s/ Andrew F. Dawson              /s/ Elana Nightingale Dawson      /s/ Rose S. Lee
Andrew F. Dawson                  Elana Nightingale Dawson          Rose S. Lee


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 All parties whose electronic signatures are included herein have consented to the filing of this
document.




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